     Case:19-00119-MCF13 Doc#:7 Filed:01/17/19 Entered:01/18/19 02:14:12                                             Desc: Imaged
                             Certificate of Notice Page 1 of 3
                                               United States Bankruptcy Court
                                                  District of Puerto Rico
In re:                                                                                                     Case No. 19-00119-MCF
WILSON RODRIGUEZ SANTIAGO                                                                                  Chapter 13
MADELINE CARRASQUILLO PAGAN
         Debtors
                                                 CERTIFICATE OF NOTICE
District/off: 0104-3                  User: admin                        Page 1 of 1                          Date Rcvd: Jan 15, 2019
                                      Form ID: 309I                      Total Noticed: 22


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jan 17, 2019.
db/jdb          WILSON RODRIGUEZ SANTIAGO,    MADELINE CARRASQUILLO PAGAN,
                 MANSIONES DE SANTA BARBARA A-14 CALLE CO,     GURABO, PR 00778
smg             FEDERAL LITIGATION DEPT. OF JUSTICE,    PO BOX 9020192,    SAN JUAN, PR 00902-0192
smg            +PR DEPARTMENT OF LABOR,    PO BOX 195540,    HATO REY, PR 00919-5540
4674457         Claro,   PO Box 360998,    San Juan, PR 00936-0998
4674458        +Departamento de Hacienda,    Paseo Covadonga #10,    Edif Intendente Ramirez,
                 San Juan, PR 00901-2613
4674461         Island Finan,   PO Box 71504,    San Juan, PR 00936-8604
4674462         Oriental Bank,   254 Ave Munoz Rivera # 15T,     San Juan, PR 00918-1900
4674466         Td Rcs/Advance Auto,    1000 Macarthur Blvd,    Mahwah, NJ 07430-2035

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: cmecf@fslawpr.com Jan 15 2019 19:18:08        ROBERTO ARISTIDES FIGUEROA COLON,
                 FIGUEROA & SERRANO PSC,    PO BOX 1635,    GUAYNABO, PR 00970
tr              E-mail/Text: enotice@ch13sju.com Jan 15 2019 19:18:17        ALEJANDRO OLIVERAS RIVERA,
                 ALEJANDRO OLIVERAS CHAPTER 13 TRUS,     PO BOX 9024062,    SAN JUAN, PR 00902-4062
smg             EDI: PRTREAS Jan 16 2019 00:03:00      DEPARTAMENTO DE HACIENDA,      PO BOX 9024140,
                 OFICINA 424-B,    SAN JUAN, PR 00902-4140
smg             E-mail/Text: ustpregion21.hr.ecf@usdoj.gov Jan 15 2019 19:18:48         US TRUSTEE,
                 EDIFICIO OCHOA,    500 TANCA STREET SUITE 301,    SAN JUAN, PR 00901-1922
ust             E-mail/Text: ustpregion21.hr.ecf@usdoj.gov Jan 15 2019 19:18:48         MONSITA LECAROZ ARRIBAS,
                 OFFICE OF THE US TRUSTEE (UST),    OCHOA BUILDING,     500 TANCA STREET SUITE 301,
                 SAN JUAN, PR 00901
4674453         EDI: AMEREXPR.COM Jan 16 2019 00:03:00       Amex,    PO Box 297871,
                 Fort Lauderdale, FL 33329-7871
4674454         E-mail/Text: marilyn.gonzalez@popular.com Jan 15 2019 19:19:44         Banco Popular de Puerto Ric,
                 Mortgage Servicing Department,    PO Box 362708,     San Juan, PR 00936-2708
4674455         E-mail/Text: marilyn.gonzalez@popular.com Jan 15 2019 19:19:44         Banco Popular de Puerto Rico,
                 Bankruptcy Department,    PO Box 366818,    San Juan, PR 00936-6818
4674456         E-mail/Text: quiebras@bspr.com Jan 15 2019 19:19:29        Banco Santander Puerto Rico,
                 PO Box 362589,    San Juan, PR 00936-2589
4674459         EDI: TSYS2.COM Jan 15 2019 23:58:00       Dsnb Macys,    PO Box 8218,    Mason, OH 45040-8218
4674460         E-mail/Text: laura.velez@firstbankpr.com Jan 15 2019 19:18:12         Firstbank Puerto Rico,
                 PO Box 9146,    San Juan, PR 00908-0146
4674463         EDI: SEARS.COM Jan 16 2019 00:03:00       Sears/Cbna,    PO Box 6282,
                 Sioux Falls, SD 57117-6282
4674464         EDI: RMSC.COM Jan 16 2019 00:03:00       Syncb/Jc Penney Pr,    PO Box 965007,
                 Orlando, FL 32896-5007
4674465         EDI: RMSC.COM Jan 16 2019 00:03:00       Syncb/Walmart DC,    PO Box 965024,
                 Orlando, FL 32896-5024
                                                                                                TOTAL: 14

              ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jan 17, 2019                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on January 15, 2019 at the address(es) listed below:
NONE.                                                                                       TOTAL: 0
Case:19-00119-MCF13 Doc#:7 Filed:01/17/19 Entered:01/18/19 02:14:12                                                                   Desc: Imaged
                        Certificate of Notice Page 2 of 3
Information to identify the case:
Debtor 1                 WILSON RODRIGUEZ SANTIAGO                                              Social Security number or ITIN    xxx−xx−0692

                         First Name   Middle Name   Last Name                                   EIN    _ _−_ _ _ _ _ _ _
Debtor 2                 MADELINE CARRASQUILLO PAGAN                                            Social Security number or ITIN    xxx−xx−3776
(Spouse, if filing)
                         First Name   Middle Name   Last Name                                   EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court        District of Puerto Rico
                                                                                                Date case filed for chapter 13 1/14/19
Case number:          19−00119 −MCF 13



Official Form 309I
Notice of Chapter 13 Bankruptcy Case                                                                                                                   12/17


For the debtors listed above, a case has been filed under chapter 13 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtors, the debtors' property, and certain codebtors. For example, while the stay is in effect, creditors cannot sue, garnish wages, assert a
deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from debtors by mail, phone, or
otherwise. Creditors who violate the stay can be required to pay actual and punitive damages and attorney's fees. Under certain circumstances, the stay
may be limited to 30 days or not exist at all, although debtors can ask the court to extend or impose a stay.
Confirmation of a chapter 13 plan may result in a discharge. Creditors who assert that the debtors are not entitled to a discharge under 11 U.S.C. §
1328(f) must file a motion objecting to discharge in the bankruptcy clerk's office within the deadline specified in this notice. Creditors who want to have
their debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office by the same deadline. (See line 13 below for more
information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.
Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.

                                              About Debtor 1:                                               About Debtor 2:
1. Debtor's full name                         WILSON RODRIGUEZ SANTIAGO                                     MADELINE CARRASQUILLO PAGAN

2. All other names used in the
   last 8 years
                                              aka WILSON RODRIGUEZ                                          aka MADELINE CARRASQUILLO

                                                                                                            MANSIONES DE SANTA BARBARA A−14
                                              MANSIONES DE SANTA BARBARA A−14 CALLE CO
3. Address                                    GURABO, PR 00778
                                                                                                            CALLE CO
                                                                                                            GURABO, PR 00778
                                              ROBERTO ARISTIDES FIGUEROA COLON                              Contact phone 787−470−7699
4. Debtor's  attorney
   Name and address
                                              FIGUEROA & SERRANO PSC
                                              PO BOX 1635
                                                                                                            Email cmecf@fslawpr.com

                                              GUAYNABO, PR 00970

5. Bankruptcy trustee                          ALEJANDRO OLIVERAS RIVERA                                    Contact phone 787 977−3500
     Name and address                          ALEJANDRO OLIVERAS CHAPTER 13 TRUS                           Email aorecf@ch13sju.com
                                               PO BOX 9024062
                                               SAN JUAN, PR 00902−4062

6. Bankruptcy clerk's office                                                                                Hours open 8:00 AM − 4:00 PM
     Documents in this case may be filed       Jose V Toledo Fed Bldg & US Courthouse                       Contact phone (787) 977−6000
     at this address.                          300 Recinto Sur Street, Room 109                             Date: 1/15/19
     You may inspect all records filed in      San Juan, PR 00901
     this case at this office or online at
      www.pacer.gov.
                                                                                                                  For more information, see page 2




Official Form 309I                                     Notice of Chapter 13 Bankruptcy Case                                               page 1
Case:19-00119-MCF13 Doc#:7 Filed:01/17/19 Entered:01/18/19 02:14:12                                                                       Desc: Imaged
                        Certificate of Notice Page 3 of 3
Debtor WILSON RODRIGUEZ SANTIAGO and MADELINE CARRASQUILLO PAGAN                                                                         Case number 19−00119

7. Meeting of creditors
    Debtors must attend the meeting to     February 26, 2019 at 08:00 AM                                     Location:
    be questioned under oath. In a joint                                                                     OCHOA BUILDING, 500 TANCA STREET ,
    case, both spouses must attend.                                                                          FIRST FLOOR, SAN JUAN, PR 00901
    Creditors may attend, but are not      The meeting may be continued or adjourned to a later
    required to do so.                     date. If so, the date will be on the court docket.
8. Deadlines                               Deadline to file a complaint to challenge                                Filing deadline: 4/29/19
   The bankruptcy clerk's office must      dischargeability of certain debts:
   receive these documents and any
   required filing fee by the following
   deadlines.                              You must file:
                                           • a motion if you assert that the debtors are
                                              not entitled to receive a discharge under
                                              U.S.C. § 1328(f) or
                                           • a complaint if you want to have a particular
                                              debt excepted from discharge under
                                              11 U.S.C. § 523(a)(2) or (4).
                                           Deadline for all creditors to file a proof of claim                      Filing deadline: 3/25/19
                                           (except governmental units):
                                           Deadline for governmental units to file a proof of                       Filing deadline: 7/15/19
                                           claim:


                                           Deadlines for filing proof of claim:
                                            A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be obtained at
                                            www.uscourts.gov or any bankruptcy clerk's office.
                                           If you do not file a proof of claim by the deadline, you might not be paid on your claim. To be paid, you must file
                                           a proof of claim even if your claim is listed in the schedules that the debtor filed.
                                           Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a proof of
                                           claim submits the creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can explain.
                                           For example, a secured creditor who files a proof of claim may surrender important nonmonetary rights,
                                           including the right to a jury trial.
                                           Claims can be filed electronically through the court's website at:
                                            www.prb.uscourts.gov/electronicproofclaimform/
                                           It is recommended that secured claims are filed prior to the date of the creditors meeting.

                                           If filing by paper, see the Explanations page for information on obtaining a proof of claim form.


                                           Deadline to object to exemptions:                                         Filing deadline:    30 days after the
                                           The law permits debtors to keep certain property as exempt. If you                            conclusion of the
                                           believe that the law does not authorize an exemption claimed, you                             meeting of creditors
                                           may file an objection.

9. Filing of plan                          The debtor has not filed a plan as of this date. The hearing on confirmation will be held on:
                                           4/12/19 at 01:30 PM , Location: 300 RECINTO SUR STREET, COURTROOM 3 THIRD FLOOR, SAN JUAN,
                                           PR 00901

                                           An objection to confirmation of the chapter 13 plan shall be filed at least 7 days prior to the hearing on
                                           confirmation.

                                           The confirmation hearing may be continued by announcement at the confirmation hearing of the continued date
                                           and time without further written notice.
10. Creditors with a foreign               If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
    address                                extend the deadline in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                           any questions about your rights in this case.
11. Filing a chapter 13                    Chapter 13 allows an individual with regular income and debts below a specified amount to adjust debts
    bankruptcy case                        according to a plan. A plan is not effective unless the court confirms it. You may object to confirmation of the
                                           plan and appear at the confirmation hearing. A copy of the plan, if not enclosed, will be sent to you later, and if
                                           the confirmation hearing is not indicated on this notice, you will be sent notice of the confirmation hearing. The
                                           debtor will remain in possession of the property and may continue to operate the business, if any, unless the
                                           court orders otherwise.
12. Exempt property                        The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and
                                           distributed to creditors, even if the case is converted to chapter 7. Debtors must file a list of property claimed as
                                           exempt. You may inspect that list at the bankruptcy clerk's office or online at www.pacer.gov. If you believe that
                                           the law does not authorize an exemption that debtors claimed, you may file an objection by the deadline.
13. Discharge of debts                     Confirmation of a chapter 13 plan may result in a discharge of debts, which may include all or part of
                                           a debt. However, unless the court orders otherwise, the debts will not be discharged until all payments
                                           under the plan are made. A discharge means that creditors may never try to collect the debt from the
                                           debtors personally except as provided in the plan. If you want to have a particular debt excepted from
                                           discharge under 11 U.S.C. § 523(a)(2) or (4), you must file a complaint and pay the filing fee in the
                                           bankruptcy clerk's office by the deadline. If you believe that the debtors are not entitled to a discharge
                                           of any of their debts under 11 U.S.C. § 1328(f), you must file a motion. The bankruptcy clerk's office
                                           must receive the objection by the deadline to object to exemptions in line 8.



Official Form 309I                                    Notice of Chapter 13 Bankruptcy Case                                                     page 2
